

On Confession of Error

PER CURIAM.
Appellant, Boca Stel 2, LLC, appeals the trial court’s denial of its motion to quash service of process and to dismiss for lack of jurisdiction. Appellee concedes that the affidavit of constructive service of process was deficient and that the summons should be quashed. See Gans v. Heathgate-Sunflower Homeowners Ass’n, Inc., 593 So.2d 549 (Fla. 4th DCA 1992).
We therefore reverse and remand with directions to the trial court to quash the summons and for further proceedings consistent with this opinion.

Reversed and remanded.

GROSS, TAYLOR, and DAMOORGIAN, JJ., concur.
